         Case 19-12568-mdc       Doc 59Filed 05/24/22 Entered 05/24/22 18:06:05                 Desc Main
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                                UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF PENNSYLVANIA

In re:
         ELAINE K COOPERSTEIN                                Chapter 13


                              Debtor                 Bankruptcy No. 19-12568-MDC


                   CHAPTER 13 STANDING TRUSTEE’S MOTION FOR DISMISSAL

       AND NOW comes, Kenneth E. West, Esquire, Chapter 13 standing trustee, and requests that the above-
captioned bankruptcy case be dismissed for the following reason(s):

There has been unreasonable delay by debtor(s) that is prejudicial to creditors pursuant to 11 U.S.C. Section
1307(c)(1).

        The hearing scheduled by the filing of this motion may be adjourned from time to time without further
notice to interested parties by announcement of such adjournment in Court on the date scheduled for the hearing.

                 The standing trustee consents to the entry of a final order or judgment by the Court if it is
determined that the Court, absent consent of the parties, cannot enter a final order or judgment consistent with
Article III of the United States Constitution.



        WHEREFORE, Kenneth E. West, Esquire, Chapter 13 standing trustee, respectfully requests that Court,
after a hearing, enter an Order in the form annexed hereto, dismissing this bankruptcy case.


                                                             Respectfully submitted,

                                                             /s/ Kenneth E. West
                                                             ______________________
                                                             Kenneth E. West, Esquire
                                                             Chapter 13 Standing Trustee
                                                             P.O. Box 40837
                                                             Philadelphia, PA 19107
                                                             Telephone: (215)627-1377
